                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                       )       COLLIER/CARTER
                                                )
        v.                                      )       CASE NO. 1:09-CR-181
                                                )
 LESLIE APGER                                   )




                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on October 7,

 2010. At the hearing, defendant entered a plea of guilty to the lesser included offense in Count

 One of the Indictment, conspiracy to distribute and manufacture methamphetamine, in violation

 of 21 U.S.C. §§846 and 841(a)(1), and 841(b)(1)(B), in exchange for the undertakings made by

 the government in the written plea agreement. On the basis of the record made at the hearing, I

 find that the defendant is fully capable and competent to enter an informed plea; that the plea is

 made knowingly and with full understanding of each of the rights waived by defendant; that it is

 made voluntarily and free from any force, threats, or promises, apart from the promises in the

 plea agreement; that the defendant understands the nature of the charge and penalties provided

 by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the

 charges set forth in the lesser included offense in Count One of the Indictment, and that the

 written plea agreement be accepted at the time of sentencing. I further recommend that

 defendant remain in custody until sentencing in this matter. Acceptance of the plea, adjudication

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 of guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved

 for the district judge.

         The defendant’s sentencing date is scheduled for Thursday, February 10, 2011, at 9:00

 am.



                                              s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right
 to challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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